        23-10164-smr Doc#239 Filed 08/07/23 Entered 08/07/23 18:01:17 Ltr/Declaration
                                   E-Filing Due Pg 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas
                                    Austin Division

                                                                      Bankruptcy Case
                                                                                      23−10164−smr
                                                                                 No.:
                                                                         Chapter No.: 7
                                                                               Judge: Shad Robinson
IN RE: ASTRALABS Inc , Debtor(s)



              NOTICE OF PAST DUE DEADLINE FOR FILING OF DOCUMENT
The original signed Declaration for Electronic Filing has not been electronically filed into CM/ECF for the filing of:


209 − Amended Schedules and Summary After Conversion filed by Robert Chamless Lane for Debtor ASTRALABS
Inc. −Declaration for Electronic Filing due by 08/3/2023 (Lane, Robert)



Please electronically file the original Declaration for Electronic Filing immediately. If the Declaration for
Electronic Filing is not filed by August 21, 2023, as to any original petition, matrix, statement and schedules, this
case will be dismissed by the court and that, as to any amended petition, statement, schedule or matrix, the
amendment(s) will be stricken by the Court.




Dated: 8/7/23
                                                                Barry D. Knight
                                                                Clerk, U. S. Bankruptcy Court




                                                                                                  [Declaration Due Letter] [LtrDclrdu]
